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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF DELAWARE

 In re: BOY SCOUTS OF AMERICA                      Chapter 11
 AND DELAWARE BSA, LLC
                    Debtors.                       Bankruptcy Case
                                                   No. 20-10343 (LSS)
 NATIONAL UNION FIRE INSURANCE
 CO. OF PITTSBURGH, PA, et al.,                    (Jointly Administered)
                Appellants
                    -v.-
                                                   Case No. 22-cv-01237-RGA
 BOY SCOUTS OF AMERICA AND
 DELAWARE BSA, LLC,
                Appellees

              STATEMENT PURSUANT TO LOCAL RULE 7.1.1

       The undersigned hereby certifies that on August 25, 2023, counsel for the
 Certain Insurers and counsel for Appellees, including Delaware counsel for both
 sides, emailed regarding the matters set forth in the motion, and Delaware counsel
 spoke via telephone. Appellees do not consent to the motion.



  Dated: August 25, 2023               BY: /s/ Deirdre M. Richards
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